                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                               NO. 3:20-cv-393-GCM

                                               )
SKANSKA USA CIVIL SOUTHEAST,                   )
INC.,                                          )
                                               )
                      Plaintiff,               )
                                               )
v.                                             )               ORDER
                                               )
UP COMMUNITY FUND, LLC,                        )
                                               )
                      Defendant.               )

       THIS MATTER IS BEFORE THE COURT on the Motion for Admission Pro Hac Vice

(“Motion”) concerning Anna T. Birkenheier (Doc. No. 9).

       Upon review and consideration of the Motion, which was accompanied by submission of

the necessary fees, the Court hereby GRANTS the Motion.

       In accordance with Local Rule 83.1(B), Ms. Birkenheier is admitted to appear before this

court pro hac vice on behalf of Plaintiff Skanska USA Civil Southeast, Inc..

       IT IS SO ORDERED.



                           Signed: July 31, 2020




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